 Case 3:20-cr-00016-KRG-KAP Document 53 Filed 01/13/22 Page 1 of 2




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                )
                                        )
      v.                                ) Criminal No. 3:20-cr-16
                                        )
MATTHEW MICHAEL WALTER                  )

                   MEMORANDUM IN AID OF SENTENCING


      Mr. Walter is 34 years old and a native of Altoona, PA. See PSR at p.2.

He has never married and has no children. See id. at ¶58. He has an IQ of 63

and has been on social security disability since high school for an “intellectual

disorder.” See id. at ¶62. Most recently he received $667 a month in disability

benefits which have since ceased upon his incarceration. See id. at ¶68. He

cannot manage money, he cannot drive a vehicle, he has no assets, he has never

worked, and it is submitted has no realistic prospect for future earnings. See id.

at ¶¶62, 68, 70.

      Mr. Walter has been incarcerated since his arrest in July of 2020 and

been housed at the Cambria County Prison under very restrictive conditions

during the COVID-19 pandemic. He continues to have family support from his

mother. See Letter to Court from Tina Leamer, attached as Exhibit A.

      Mr. Walter is scheduled for sentencing on January 20, 2022, following his

guilty plea to a single count of possession of Material Depicting the Sexual

Exploitation of a Minor, in violation of 18 U.S.C. §§ 2252(a)(4)(B) and
 Case 3:20-cr-00016-KRG-KAP Document 53 Filed 01/13/22 Page 2 of 2




2252(b)(2). At sentencing he faces a mandatory minimum sentence of 120

months imprisonment. There is a plea agreement in this case. The United

States Sentencing Guidelines recommend a sentence of 121-151 months. See

PSR ¶73. Mr. Walter does not submit any grounds for a downward departure

but does seek a one-month variance based primarily on his mental condition

and the need for the sentence imposed given the length of the statutory

minimum. He thus seeks a sentence to the minimum 120 months.

      WHEREFORE, Matthew Michael Walter respectfully requests a

sentence of 120 months’ imprisonment and a term of supervised release of not

less than 5 years. Restitution is mandatory and, upon information and belief, a

pending Supplement to the PSR will reflect Mr. Walter will owe $12,000 in

restitution in this case. Given this, he asks the Court impose no fine and no

assessment under the AVAA as he is clearly indigent, has no assets, and any

fine/assessment would interfere with his ability to pay this restitution contrary

to 18 U.S.C. §3572(b). Additionally, this court impose no assessment under the

JVAA as he is indigent. Finally, Mr. Walter requests the Court make a

recommendation to the Bureau of Prisons that he be placed in a facility as close

to his mother in Altoona, PA as possible.

                                 Respectfully submitted,


                                 s/ Christopher B. Brown
                                 Christopher B. Brown
                                 Assistant Federal Public Defender
                                 Attorney I.D. No. 85117



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